
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 95-1705

                                   SHARON M. SMART,

                                Plaintiff, Appellant,

                                          v.

                   THE GILLETTE COMPANY LONG-TERM DISABILITY PLAN,

                                 Defendant, Appellee.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                            Aldrich, Senior Circuit Judge,
                                     ____________________

                               and Cyr, Circuit Judge.
                                        _____________

                              _________________________


               Richard  L. Burpee, with whom Burpee &amp; DeMoura was on brief,
               __________________            ________________
          for appellant.
               John  H. Mason, with whom  Richard P. Ward,  David T. Lyons,
               ______________             _______________   ______________
          and Ropes &amp; Gray were on brief, for appellee.
              ____________

                              _________________________

                                  November 22, 1995

                              _________________________

           



















                    SELYA, Circuit Judge.  Plaintiff-appellant Sharon Smart
                    SELYA, Circuit Judge.
                           _____________

          sued The Gillette Company Long-Term  Disability Plan (Plan or LTD

          Plan) for benefits she  asserts were wrongfully denied her.   The

          district  court ruled that Smart had waived her claim.  See Smart
                                                                  ___ _____

          v. The Gillette Co.  Long-Term Disability Plan, 887 F.  Supp. 383
             ___________________________________________

          (D. Mass. 1995).  We affirm.

          I.  BACKGROUND
          I.  BACKGROUND

                    We  take  the  underlying facts  principally  from  the

          parties' pretrial stipulations.   The Gillette Company (Gillette)

          hired appellant in  1976.  In time,  she became a  senior product

          analyst.   Her job involved travel in connection with the testing

          of Gillette products.   In 1986, appellant injured her  left knee

          in a work-connected  automobile accident.  Between 1986 and 1990,

          she underwent four surgical procedures in hopes  of repairing the

          damage to her  knee.   She worked sporadically  during the  first

          half of this period, but not at all after September 8, 1988.

                    On  September  7, 1988,  Gillette, bent  on terminating

          appellant's  at-will  employment  at  year's end  as  part  of  a

          reduction  in force, sent her  a letter that  outlined a proposed

          severance  arrangement.   Under it,  appellant for  a time  would

          receive severance  pay and assorted  benefits to which  she would

          not   otherwise  be   entitled,   but  would   go  quietly   into

          unemployment's  dark night,  releasing  any and  all federal  and

          state  claims she might have  against Gillette.   The September 7

          letter  listed  the LTD  Plan  among the  extended  benefits that

          appellant would enjoy if she accepted the proposal.


                                          2














                    Apparently  concerned about her injured knee, appellant

          did not  immediately embrace the suggested  severance terms, but,

          rather,  began  a   negotiation  aimed   at  excluding   workers'

          compensation  claims from  the  sweep of  the requested  release.

          Gillette eventually  acquiesced and,  on December 16,  1988, sent

          appellant  a new letter that differed from the September 7 letter

          in two important respects.  First, it expressly excluded workers'

          compensation claims from the general release.  Second, it did not

          mention the LTD Plan (an omission that had the effect of dropping

          the Plan from the list of benefits that would continue during the

          severance period).

                    Appellant  reviewed the  December  16 letter  with  her

          lawyer and signed  it on  December 29.   Gillette terminated  her

          employment  effective  December  31.     As  per  the  agreement,

          appellant  collected severance  pay until  November 4,  1989, and

          received  the  other benefits  listed in  the December  16 letter

          throughout the severance period (i.e., January 1 through November

          4, 1989).   During that same time frame, she settled her workers'

          compensation  claim for  $43,750  and began  collecting $887  per

          month in social security disability payments.

                    On October 2, 1991,  appellant filed an application for

          benefits   under  the   Plan,  alleging   that  she   had  become

          "permanently and  totally disabled" during the  severance period.

          Gillette's corporate counsel denied  the application out of hand.

          After  a  series  of  fruitless  requests   for  reconsideration,

          appellant sued.


                                          3














                    The district court did not reach any of the  variegated

          issues associated with whether appellant did (or did not) display

          a total and permanent disability as defined by the LTD Plan while

          still  a participant in it.   The court  instead found in effect,

          after an evidentiary hearing  replete with stipulated facts, that

          appellant's  Plan participation  ended when her  employment ended

          (December 31, 1988), and  that, therefore, she had  no cognizable

          claim in respect to  a disability that did not  materialize until

          sometime in 1989 at the earliest.

          II.  DISCUSSION
          II.  DISCUSSION

                    After  careful examination of  the record,  the briefs,

          and the applicable law, we hold that the severance agreement made

          no  provision  for  extended   participation  in  the  LTD  Plan.

          Consequently, Smart's appeal fails.  For ease  in explanation, we

          divide our analysis into moieties.

                             A.  The Severance Agreement.
                             A.  The Severance Agreement.
                                 _______________________

                    Appellant  argues  that  the  terms  of  the  severance

          agreement did not include a surrender of Plan benefits, but that,

          to the  exact contrary, the parties intended  to permit appellant

          to enjoy such benefits  as part of the consideration  tendered by

          Gillette for  the release.   We approach this  contention mindful

          that the December  16 letter agreement,  signed by both  parties,

          represents a contract between Smart and Gillette that potentially

          affects  rights  protected  by  the  Employee  Retirement  Income

          Security Act (ERISA), 29  U.S.C.    1001-1461 (1988),  and, thus,

          is  likely subject to interpretation in accordance with tenets of


                                          4














          federal  common law.1   See Pilot Life  Ins. Co. v.  Dedeaux, 481
                                  ___ ____________________     _______

          U.S. 41, 56 (1987).

                    In construing the terms  of contracts that are governed

          by federal common law,  we are guided by "common-sense  canons of

          contract interpretation."  Burnham v. Guardian Life Ins. Co., 873
                                     _______    ______________________

          F.2d  486, 489  (1st  Cir. 1989).   One  such canon  teaches that

          contracts  containing  unambiguous  language  must  be  construed

          according to their plain and natural meaning.  See id.  "Contract
                                                         ___ ___

          language  is usually  considered ambiguous  where an  agreement's

          terms are inconsistent on their face or where the phraseology can

          support reasonable  differences of opinion  as to the  meaning of

          the words  employed and obligations undertaken."   Fashion House,
                                                             ______________

          Inc.  v.  K mart  Corp., 892  F.2d  1076, 1083  (1st  Cir. 1989).
          ____      _____________

          Interpreting  unambiguous terms  is  an  activity  that  requires

          judges to  expound the law  rather than to  find the facts,  and,

          therefore,   a  trial  court's  interpretive  determinations  are

          subject to plenary review.  See, e.g., Allen v.  Adage, Inc., 967
                                      ___  ____  _____     ___________

          F.2d 695,  698 (1st Cir. 1992).   In most cases,  the question of

          whether  a contract term is ambiguous also presents a question of

          law subject  to plenary review.  See  id.; see also RCI Northeast
                                           ___  ___  ___ ____ _____________

          Servs. Div.  v. Boston  Edison Co., 822  F.2d 199, 202  (1st Cir.
          ___________     __________________

          1987).

                              
          ____________________

               1We  need  not probe  this point  too  deeply.   Because the
          result here is unaffected by choice  of law, we can simply assume
          (as  have  the  litigants  and  the  lower  court)  that  federal
          statutory  and  common law  supply the  rules  of decision.   See
                                                                        ___
          Fashion House,  Inc. v. K  mart Corp., 892  F.2d 1076, 1092  (1st
          ____________________    _____________
          Cir. 1989).

                                          5














                    If  an  inquiring  court concludes  that  an  ambiguity

          exists in  a contract,  the ultimate  resolution of  it typically

          will  turn on  the  parties' intent.    Exploring the  intent  of

          contracting  parties often (but  not always) involves marshalling

          facts  extrinsic to the language of the contract documents.  When

          this  need  arises, these  facts,  together  with the  reasonable

          inferences  extractable therefrom,  are together  superimposed on

          the  ambiguous words  to  reveal the  parties' discerned  intent.

          This construct ordinarily  requires the judge in  a non-jury case

          to resolve questions of fact rather  than questions of law.   See
                                                                        ___

          In re Newport  Plaza Assocs., 985 F.2d  640, 645 (1st Cir.  1993)
          ____________________________

          (stating  that   "the  interpretation  of   [ambiguous]  contract

          language, itself acknowledged, becomes a question of fact for the

          jury  rather  than  a  question  of  law  for  the  judge");  RCI
                                                                        ___

          Northeast,  822 F.2d  at  202 (explaining  that  when "the  plain
          _________

          meaning of a contract  phrase does not spring  unambiguously from

          the  page or from the  context, its proper  direction becomes one

          for  the  factfinder,  who must  ferret  out  the  intent of  the

          parties").  In such circumstances, a reviewing court will  uphold

          the factfinder's resolution of the  question unless it is clearly

          erroneous.  See Fed. R. Civ.  P. 52(a); see also In re Navigation
                      ___                         ___ ____ ________________

          Technology Corp., 880 F.2d 1491, 1495 (1st Cir. 1989).
          ________________

                    In  this  case,  appellant's  assault  focuses  on  the

          following language in the severance agreement:

                    In  consideration  of the  severance  pay and
                                                              ___
                    other benefits to be  provided you as part of
                    ______________________________
                    The Gillette Company's Restructuring Program,
                    you  do hereby  . .  . release  and  agree to

                                          6














                    indemnify and hold harmless  [Gillette] . . .
                    from any and all claims, charges, complaints,
                    or causes of action, now existing, both known
                    and  unknown  or   arising  in  the   future,
                    including but not  limited to, all claims  of
                    breach of contract . . ., or [claims] arising
                    from  alleged violations of .  . . any  . . .
                    local, state,  or federal law,  regulation or
                    policy  or any  other  claim relating  to  or
                    arising   out   of   your   employment   with
                    [Gillette] or  termination thereof  .  . .  .
                    (Emphasis supplied.)

          According  to  appellant,  the  underscored  phrase is  ambiguous

          because the agreement makes no reference to the LTD Plan, leaving

          up  in  the air  whether Smart  will  retain coverage  during the

          severance period as a  part of the consideration ("severance  pay

          and other benefits") for the general  release.  Thus, appellant's

          thesis  runs,  the  trial  court  should  have  mulled  extrinsic

          evidence    including  the September  7 letter    to  resolve the

          uncertainty, and,  had it done so, would  perforce have concluded

          that  the  phrase "other  benefits"  in  the December  16  letter

          encompassed extended coverage under the LTD Plan.

                    Appellant's  mental gymnastics  are  nimble,  but  they

          score low marks for substance.   Accepted canons of  construction

          forbid the balkanization of  contracts for interpretive purposes.

          See Fashion House,  892 F.2d  at 1084 (examining  agreement as  a
          ___ _____________

          whole  to interpret one  part); see also  Restatement (Second) of
                                          ___ ____  _______________________

          Contracts   202 cmt. d (1981) (explaining that "[w]here the whole
          _________

          can be  read to give significance  to each part,  that reading is

          preferred").  Here, when  the phrase "other benefits" is  read in

          the full context of  the document, the language is  not ambiguous

          at all.  The  preceding paragraphs of the letter  agreement spell

                                          7














          out  precisely  which benefits,  in  addition  to severance  pay,

          appellant  will  receive  in  exchange for  the  release.    They

          include, with  various qualifications, extended  participation in

          employee health and dental plans, life insurance, a savings plan,

          and  an  employee  stock  ownership plan.    Viewed  against this

          backdrop,  it  is  pellucid that  the  later  use  of the  "other

          benefits" terminology  refers to  the benefits enumerated  in the
                                                                     ______

          text of the document itself.
          ___________________________

                    We  think  that this  case is  a  classic example  of a

          situation in  which the hoary maxim expressio  unius est exclusio
                                              _____________________________

          alterius is helpful.  The maxim instructs that, when parties list
          ________

          specific items in a document, any item not so listed is typically

          thought  to be excluded.  See, e.g.,  FDIC v. Singh, 977 F.2d 18,
                                    ___  ____   ____    _____

          22-23  (1st Cir. 1992)  (applying expressio  unius rule).   While
                                            ________________

          this  interpretive maxim  is not  always dispositive,  it carries

          weight;  and when,  as now,  there is  absolutely nothing  in the

          agreement's  text  that hints  at  some  additional item  lurking

          beyond the enumerated list, we see no reason why the maxim should

          not be controlling.  We conclude  from what is written within the

          four  corners of  the  severance agreement,  therefore, that  the

          phrase "other  benefits" simply  and unambiguously describes  the

          benefits enumerated in the agreement itself (and, hence, does not

          include continued coverage under the Plan).

                    Appellant  has  a  fallback  position.    She  doggedly

          insists  that,  regardless of  the  language of  the  December 16

          letter, evidence  from the  parties' negotiations and  "course of


                                          8














          performance"  reveals  that  they actually  intended  to  include

          extended coverage under the Plan as part of the consideration for

          the release.  This insistence is misplaced.

                    As  a  general  rule,   a  court  should  not  consider

          extrinsic evidence  to  give meaning  to  a contract  unless  the

          contract's terms  are vague or ambiguous.  See Rodriguez-Abreu v.
                                                     ___ _______________

          Chase  Manhattan Bank, 986 F.2d 580, 586 (1st Cir. 1993); Bellino
          _____________________                                     _______

          v. Schlumberger  Technologies, Inc.,  944 F.2d 26,  32 (1st  Cir.
             ________________________________

          1991).  However,  if the evidence  is not offered  to infuse  the

          contract with meaning,  but only  to demonstrate that  a term  is

          vague or ambiguous in the first place,  then the situation may be

          different;  courts sometimes  may  ponder extrinsic  evidence  to

          determine  whether   an  apparently   clear   term  is   actually

          uncertain.2    See  Restatement  (Second), supra,     212  cmt. b
                         ___  _____________________  _____

          (suggesting that  determinations of  ambiguity are best  "made in

          the light of the relevant evidence of the situation and relations

          of  the   parties,  the   subject  matter  of   the  transaction,

          preliminary  negotiations and statements  made therein, usages of

          trade,  and the course of dealing between the parties"); E. Allan

          Farnsworth,  Farnsworth on  Contracts    7.12,  at 277-78  (1990)
                       ________________________

          (approving this view); see also Arthur L. Corbin, Contracts   579
                                 ___ ____                   _________

          (1960) (to like effect).   But this exception is narrow  at best,

          and is inapposite here.  In the most permissive of jurisdictions,

          extrinsic  evidence  will  be   considered  for  the  purpose  of
                              
          ____________________

               2In our  view, this possibility  should not alter  or affect
          the rule that  the determination  of ambiguity is,  in the  first
          instance, a question of law for the judge.

                                          9














          determining  whether an  ambiguity exists only  if it  suggests a

          meaning   to  which   the  challenged   language  is   reasonably

          susceptible.  See Farnsworth, supra,   7.12, at 278.  In no event
                        ___             _____

          may  extrinsic  evidence  be  employed  to   contradict  explicit

          contract  language or to drain an agreement's text of all content

          save ink  and paper.   See Burnham, 873 F.2d  at 489 (admonishing
                                 ___ _______

          that "courts have no right  to torture language in an  attempt to

          force  particular results  or to  convey delitescent  nuances the

          contracting parties neither intended or imagined").

                    In this case, the extrinsic evidence to which appellant

          points reveals  nothing remotely  resembling an amphiboly  in the

          contextual meaning of "other benefits."  That evidence falls into

          two categories.   The first category  juxtaposes the September  7

          and  December 16 letters,  and asks  us to  remark the  fact that

          extended  Plan participation  was included  as part of  the first

          offer, and then  deleted without special  mention from the  offer

          which appellant  actually accepted.   But even  if remarked  this

          fact confirms, rather  than refutes, that LTD  Plan benefits were

          intended to  be outside the "other  benefits" explicitly promised

          in  the  December 16  agreement.    Put another  way,  Gillette's

          deletion of the Plan from the list of preserved benefits bolsters

          the applicability of the expressio unius maxim.
                                   _______________

                    The  second category  of  extrinsic  evidence to  which

          appellant adverts  is cobbled together  from a series  of letters

          written  by   Gillette's  counsel  in  the   process  of  denying

          appellant's claim for LTD Plan benefits on its merits.  Appellant


                                          10














          maintains  that these  missives  prove  that,  in the  course  of

          performing  the  terms  of  the  severance  agreement,  the  Plan

          administrator   interpreted   the   agreement  as   commemorating

          appellant's potential eligibility for benefits.   Although courts

          sometimes  rely  on  such  "course of  performance"  evidence  to

          interpret   ambiguous  contract  terms,  see,  e.g.,  Agathos  v.
                                                   ___   ____   _______

          Starlite  Motel, 977 F.2d 1500,  1509 (3d Cir.  1992); Schultz v.
          _______________                                        _______

          Metropolitan Life Ins. Co., 872 F.2d 676, 679 (5th Cir. 1989), we
          __________________________

          do not find appellant's evidence useful here.

                    For one thing, the correspondence in question postdates

          the accrual of the dispute between the  parties   indeed, it came

          into being only after the severance agreement itself  had expired

             whereas course-of-performance evidence typically involves "the

          conduct of  the  parties before  the  advent of  a  controversy."
                                   ______

          Schultz, 872 F.2d at 679 (emphasis supplied).  For another thing,
          _______

          the targeted  correspondence, which  seems to  assume appellant's

          eligibility  under the Plan in September of 1989, involves only a

          single  claim  for benefits.    These  communiques, whether  read

          singly  or  in the  ensemble,  do  not affirmatively  acknowledge

          either  an   extension  of   coverage   or  appellant's   generic

          entitlement  to   benefits.     On  the  whole,   therefore,  the

          correspondence falls short of evincing the repeated dealings that

          might  constitute a  course  of performance  between the  parties

          sufficient  to  indicate that  "other  benefits"  means something

          different than what the contract itself discloses.  See generally
                                                              ___ _________

          Restatement (Second), supra,   202(4) (explaining that "course of
          ____________________  _____


                                          11














          performance" is relevant "[w]here  an agreement involves repeated

          occasions for  performance"); id. cmt.  g (noting that  course of
                                        ___

          performance "is not conclusive of meaning," and that such conduct

          "must  be weighed in the light of  the terms of the agreement and

          their possible meanings").

                    To  sum up,  whether  or  not  we  refer  to  extrinsic

          evidence, the severance agreement  is free from ambiguity.   That

          agreement effectively  extinguishes  appellant's claim  in  that,

          contrary  to appellant's  advertisement,  it does  not include  a

          promise to  extend Plan  coverage.   The  remaining issue,  then,

          concerns the validity of the severance agreement.

                               B.  The Putative Waiver.
                               B.  The Putative Waiver.
                                   ___________________

                    Appellant labors to convince  us that the agreement she

          signed  was  invalid because  it amounted  to  a waiver,  and the

          waiver,  in turn, was unenforceable  under ERISA.   We think that

          this formulation misconstrues the issue.  As we see it, no waiver

          is  in play here.   Appellant signed a  severance agreement under

          which Gillette promised  her some extended benefits  (but not LTD

          Plan benefits).  That  agreement could not have waived  her right

          to participate  in the Plan  during the severance  period because

          she had no such right unless the employer affirmatively agreed to
                                ___________________________________________

          enlarge  her eligibility under the Plan.  As we have ascertained,
          _______________________________________

          see supra Part II(A), Gillette did no such thing.
          ___ _____

                    To  be sure, the waiver argument can be recast in terms

          of  appellant's  release of  all  claims she  might  have against

          Gillette    a  release that  purportedly surrenders  claims under


                                          12














          ERISA for the  wrongful denial of  benefits.  This  is at best  a

          bootstrap approach  to creating  a justiciable waiver  issue, for

          one can scarcely release claims that one does  not possess.  And,

          moreover,  we are at loss to see how an employer can "wrongfully"

          deny  benefits to which an  employee (or, more  precisely put, an

          ex-employee)  is not entitled in the  first place.  See Ronald J.
                                                              ___

          Cooke,  ERISA  Practice  and Procedure     2.08,  at 2-28  (1995)
                  ______________________________

          (emphasizing  that "ERISA  affords  no rights  or protections  to

          those who are not participants" in a benefit plan).

                    At any rate, even if we assume that we are dealing with

          an  actual   rather  than  an   ersatz  waiver,  the   waiver  is

          permissible.  Congress passed ERISA in part to protect the rights

          of employees who  choose to participate in welfare benefit plans.

          See  29 U.S.C.    1001; see also  Firestone Tire &amp;  Rubber Co. v.
          ___                     ___ ____  ____________________________

          Bruch,  489 U.S.  101,  113 (1989).    To achieve  that  end, the
          _____

          statute establishes a private  right of action for  employees who

          allege  that a plan  administrator wrongfully denied  a claim for

          benefits due under  the provisions of the plan.   See 29 U.S.C.  
                                                            ___

          1132(a).   But Congress  did  not go  so far  as  to prohibit  an

          employee from  waiving her  right to  participate in  an employee

          welfare benefit plan.  See Rodriguez-Abreu, 986 F.2d at 587; Finz
                                 ___ _______________                   ____

          v. Schlesinger, 957 F.2d  78, 81 (2d Cir.), cert. denied,  113 S.
             ___________                              _____ ______

          Ct. 72 (1992); Laniok v. Advisory Comm. of the Brainerd Mfg.  Co.
                         ______    ________________________________________

          Pension Plan, 935 F.2d  1360, 1364-66 (2d Cir. 1991);  Lumpkin v.
          ____________                                           _______

          Envirodyne  Indus.,  Inc., 933  F.2d 449,  455 (7th  Cir.), cert.
          _________________________                                   _____

          denied,  502 U.S. 939  (1991); Leavitt v.  Northwestern Bell Tel.
          ______                         _______     ______________________


                                          13














          Co., 921 F.2d 160, 161-62 (8th Cir. 1990).
          ___

                    Of course,  despite the fact that  employee waivers are

          not  forbidden,  ERISA  evinces  Congress's  intent  to  preserve

          employee pension and benefit rights.  See, e.g., Laniok, 935 F.2d
                                                ___  ____  ______

          at  1367.  In ERISA cases, therefore, courts should scrutinize an

          ostensible waiver with care  in order to ensure that  it reflects

          the purposeful relinquishment of an employee's rights.  See Finz,
                                                                  ___ ____

          957  F.2d at 81;  In re Heci  Exploration Co., 862  F.2d 513, 523
                            ___________________________

          (5th Cir. 1988).   At a  minimum, such waivers, to  be effective,

          must be "knowing  and voluntary."   Rodriguez-Abreu, 986 F.2d  at
                                              _______________

          587.

                    In Finz, building on Laniok, the Second Circuit crafted
                       ____              ______

          a  compendium  of six  factors that  are  often relevant  to this

          inquiry.3   We  find this  list helpful  rather than  conclusive.

          Generally,  no  single  fact   or  circumstance  is  entitled  to

          talismanic  significance  on the  question  of waiver.    Only an

          inquiry  into the  totality  of the  circumstances can  determine

          whether there has been a  knowing and voluntary relinquishment of

          an ERISA-protected benefit.  See, e.g., Leavitt, 921 F.2d at 162.
                                       ___  ____  _______




                              
          ____________________

               3These six factors include:   (1) the plaintiff's education,
          business   experience,  and  sophistication;   (2)  the  parties'
          respective roles in deciding the final terms of the  arrangement;
          (3)  the agreement's clarity; (4) the amount of time available to
          the plaintiff to  study the  agreement before acting  on it;  (5)
          whether the plaintiff had independent advice   such as the advice
          of counsel   when she signed the agreement; and (6) the nature of
          the consideration tendered in exchange for the waiver.  See Finz,
                                                                  ___ ____
          957 F.2d at 82; Laniok, 935 F.2d at 1368.
                          ______

                                          14














          For that reason, every case is sui generis.4
                                         ___ _______

                    The  inquiry into  waiver  consists  of two  questions:

          whether a  party actually knew  she was relinquishing  a benefit,

          and whether she acted  voluntarily in doing so.   Answering these

          companion questions is a fact-intensive exercise, and the trier's

          factfinding is entitled to  deference (unless it is tainted  by a

          mistake of  law).  See Irons v. FBI, 811  F.2d 681, 684 (1st Cir.
                             ___ _____    ___

          1987)  ("Where the conclusions of  the trial court  depend on its

          election among conflicting facts or its choice of which competing

          inferences to draw from  undisputed basic facts, appellate courts

          should  defer  to  such  fact-intensive  findings,  absent  clear

          error.").

                    Measured  against  this  standard,  the  lower  court's

          findings are irreproachable.  The court correctly synthesized the

          law.   It then surveyed, inter  alia, the six Finz  factors.  See
                                   _____  ____          ____            ___

          Smart,  887 F.  Supp. at  386.   It found  appellant to  be well-
          _____

          educated  and  commercially  sophisticated  (she  had  a  college

          degree, some postgraduate business courses, and over ten years of

          professional experience at Gillette),  and to have negotiated the

          specific terms of the severance  agreement.  Those terms provided

          her with  benefits that Gillette  was not otherwise  obligated to

                              
          ____________________

               4In  Rodriguez-Abreu,  for  example,  the  plaintiff  was  a
                    _______________
          manager who knew that  he could not accept the  severance package
          while at  the same time retaining  long-term disability benefits,
          and  who  had consulted  with  an  accountant before  making  his
          decision.    We  upheld a  finding  that  he  had validly  waived
          continued participation in a long-term disability plan as part of
          his  acceptance of a voluntary severance package.  See Rodriguez-
                                                             ___ __________
          Abreu, 986 F.2d at 588.
          _____

                                          15














          furnish.  The final version of the agreement was very clear,  and

          appellant reviewed  it with  an attorney  of her  choosing before

          signing it.  Without exception, these findings   which cover five

          of the six Finz factors   are supportable.
                     ____

                    The  court's remaining  finding    that  appellant  had

          adequate  time  to  review  the severance  agreement  before  she

          executed  it    is  not quite  so  clear-cut.   Nevertheless,  it

          implicates only one of  several factors that are involved  in the

          decisional calculus, and, in any event, we do not think  that the

          court  committed  clear  error   in  determining  that  the  time

          available  to   Smart  was  sufficient  to   permit  a  complete,

          thoughtful  perscrutation   of  the  operative   version  of  the

          agreement.  We explain briefly.

                    The lower court rested  the controverted finding on the

          notion  that appellant  had  over  three  months  to  review  the

          agreement  before signing it.  See id.  This temporal computation
                                         ___ ___

          assumes that the relevant interval began with appellant's receipt

          of  the  September  7  letter.   Appellant  attacks  the  court's

          underlying premise on the ground that the relevant interval began

          with her receipt of  the December 16 agreement, leaving  her less

          than two weeks in which to review the proposal.

                    This is a case  of the glass being half-empty  or half-

          full, depending  on  how the  observer opts  to characterize  it.

          Appellant  did have  more  than  three  months  within  which  to

          consider the prospect  of early,  forced retirement  and to  mull

          those  provisions peculiarly  important  to her  condition  (like


                                          16














          workers'  compensation  and  LTD   Plan  benefits).    One  could

          reasonably expect her  to have been especially  attentive to such

          provisions  in reading the revised version of the document.  What

          is  more,   a  twelve-day   period  seems   ample  to  permit   a

          sophisticated businesswoman  and her lawyer  carefully to  review

          the terms of a fairly straightforward severance agreement even if

          the review had to proceed from scratch.

                    In  fine,  taking into  account  the  total complex  of

          events, the  district court's  fact-based finding  that appellant

          knowingly and voluntarily waived her claim to benefits under  the

          Plan is supportable.5

          III.  CONCLUSION
          III.  CONCLUSION

                    We need go no further.  Appellant negotiated and signed

          a  contract  that  unambiguously   excluded  her  from   extended

          participation  in  Gillette's  LTD   Plan.    In  so  doing   she

          simultaneously  relinquished any  ERISA-protected  claims.    The

          trial  court  found  that  her  actions  were  both  knowing  and

          voluntary.    Discerning  no  error,  we  will  not  disturb  the

          judgment.
                              
          ____________________

               5Although appellant admitted  that she  understood when  she
          signed the  severance agreement that  she was waiving  all claims
          under both federal  and state  law, she also  testified that  she
          "did not know  what ERISA was when  she signed the release;  that
          she  did not know that she  was releasing any rights under ERISA;
          and that she  did not intend to release  any rights under ERISA."
          This  testimony does  not diminish our  respect for  the district
          court's finding of  waiver.   An employee does  not need to  know
          about her  rights under  ERISA to  know that  she is  waiving her
                            ____________
          rights under a benefit plan that ERISA happens  to protect.  Once
                 ____________________
          appellant intentionally  let slip her opportunity  to participate
          in  the  benefit plan,  she  no  longer  possessed a  substantive
          "right" protected by ERISA.

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          Affirmed.
          ________




















































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